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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

  WYNDHAM VACATION OWNERSHIP, INC. a                  )
  Delaware corporation; WYNDHAM VACATION              )
  RESORTS, INC., a Delaware corporation,              )
  WYNDHAM RESORT DEVELOPMENT COR-                     )
  PORATION; an Oregon Corporation; SHELL              )
  VACATIONS, LLC, an Arizona limited liability        )   CIVIL ACTION NO.
  company; SVC-WEST, LLC, a California limited        )   8:19-cv-01895-CEH-CPT
  liability company; SVC-AMERICANA, LLC, an           )
  Arizona limited liability company; and SVC- HA-     )
  WAII, LLC, a Hawaii limited liability company,      )       AMENDED UNOPPOSED
  Plaintiffs,                                         )      MOTION FOR LEAVE TO
  v.                                                  )    WITHDRAW AS COUNSEL FOR
  THE MONTGOMERY LAW FIRM, LLC, a Mis-                )     THE LAWYER DEFENDANTS
  souri limited liability company; MONTGOMERY         )     AND DEFENDANT SNELLEN
  & NEWCOMB, LLC, a Missouri limited liability        )
  company; M. SCOTT MONTGOMERY, ESQ.,                 )
  an individual; W. TODD NEWCOMB, ESQ., an            )
  individual; CLS, INC. d/b/a ATLAS VACATION          )
  REMEDIES and also d/b/a PRINCIPAL TRANS-            )
  FER GROUP, a Missouri corporation; ATLAS            )
  VACATION REMEDIES, LLC, a Missouri lim-             )
  ited liability company; PRINCIPAL TRANSFER          )
  GROUP, LLC, a Missouri limited liability com-       )
  pany; JASON LEVI HEMINGWAY, an individ-             )
  ual; DONNELLY SNELLEN, an individual; MU-           )
  TUAL RELEASE CORPORATION a/k/a 417                  )
  MRC LLC, a Missouri limited liability company;      )
  DAN CHUDY, an individual; MATTHEW                   )
  TUCKER, an individual; and CATALYST CON-            )
  SULTING FIRM LLC, a Missouri limited liability      )
  company,                                            )
  Defendants.


        Counsel, as identified below, respectfully moves the Court for leave to withdraw as counsel

 for each of the following Defendants:


        •   The Lawyer Defendants – i.e., The Montgomery Law Firm, LLC; Montgomery
            & Newcomb, LLC; M. Scott Montgomery, Esq.; and W. Todd Newcomb, Esq.;
            and


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        •     Donnelly Snellen.


        Pursuant to the provisions of Local Rule 3.01(g), the undersigned attorney has duly

 communicated with counsel for the other parties hereof, as to whether they would oppose

 a Motion to Withdraw as counsel for the above Defendants, and no opposition has been

 indicated.


        Also, pursuant to the provisions of Local Rule 3.01(g) and the Court’s Order of July

 22, 2020 (Doc. 298), the undersigned attorney has once again duly communicated with the

 above identified Defendants, and has forwarded a copy of this Motion to them, and they

 have stated that they have no opposition to counsel’s said Motion to Withdraw.


        The last known contact information for Mr. Donnelly Snellen -- including Mr. Snel-

 len's last known mailing address, telephone number, and email address – are, as follows:


                 Mr. Donnelly Snellen,
                 708 B Missouri Boulevard
                 Jefferson City, Missouri 65109
                 (573) 694-5474
                 donnellysnellen@me.com


        As the Court may be aware, former local counsel (Coleman W. Watson, Esq. and Leila V.

 Leitner, Esq.) have been replaced by Christian W. Waugh, Esq. -- a Florida attorney and a distin-

 guished member of the Bar of this Court – who has been and will continue to serve as lead counsel.

 Moreover, trial of the cause has been set down for 16-months hence.




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                                                Conclusion

        In light of the above facts and considerations, and the compliance with (i) the Local Rule

 3.10, and (ii) the said Order of the Court, neither the Court nor the parties would be prejudiced by

 the grant of the present Motion to Withdraw as Counsel, which is thus respectfully urged.

                                       Respectfully submitted this 23th day of July, 2020,

                                                      /s/ Robert M. Ward
                                                      Robert M. Ward
                                                      (Admitted Pro Haec Vice)
                                                      3455 Peachtree Road NE, Floor 5
                                                      Atlanta, GA 30326
                                                      Telephone: (404) 606-6480
                                                      Facsimile: (404)606-6480
                                                      rward@bmwiplaw.com

                                 CERTIFICATE OF SERVICE

         I do hereby certify that a true and correct copy of the foregoing was filed on the date set
 forth hereon electronically via CM/ECF in the United States District Court for the Middle District
 of Florida, with notice and copy of same being electronically served by the Court upon all counsel
 of record.
                                                               /s/ Robert M. Ward

                                                               Attorney for some of the Defendants




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